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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                               Judge William J. Martínez

Civil Action No. 20-cv-0911-WJM-SKC

TIN GIANT, LLC, a Colorado Limited Liability Company, and
ROBERT WYATT,

       Plaintiffs,

v.

ATARI VCS, LLC, f/k/a “Atari Gamebox, LLC,” a Delaware Limited Liability Company,

     Defendant.
_____________________________________________________________________

             ORDER REFERRING CASE TO MAGISTRATE JUDGE
_____________________________________________________________________

       This matter comes before the Court on the Parties’ Election Concerning

Consent/Non-Consent to United States Magistrate Judge Jurisdiction (ECF No. 26).

Pursuant to 28 U.S.C. § 636(c) and D.C.COLO.LCiv.R 72.2, the parties have consented

to the disposition of the above action by United States Magistrate Judge S. Kato Crews.

The Court having reviewed the parties’ filing hereby ORDERS as follows:

       The above action is hereby REFERRED for final disposition to Judge Hegarty

pursuant to 28 U.S.C. § 636 (c), Fed. R. Civ. P. 73 and D.C.COLO.LCiv.R 72.2. Judge

Hegarty shall conduct any and all further proceedings in this case, including without

limitation trial and entry of a final judgment.

       The parties and the Clerk of Court are DIRECTED to use the following case

number for all future filings in this action: 20-cv-0911-SKC.
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     Dated this 8th day of July, 2020.

                                             BY THE COURT:




                                             William J. Martínez
                                             United States District Judge




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